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                             IN THE UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF ARKANSAS
                                       CENTRAL DIVISION

TASHYRA POWELL                                                                                              PLAINTIFF

v.                                         Case No. 4:22-cv-01056-LPR

DOES, Clarksville Arkansas Jail                                                                          DEFENDANT

                                                         ORDER

            Plaintiff Tashyra Powell filed a pro se complaint alleging that, while detained in the

    Clarksville jail, she was served tainted food at the hands of Johnson County Defendants.1 Based

    on the facts alleged and the Doe Defendants named, it appears that venue properly lies in the

    United States District Court for the Western District of Arkansas.2 Accordingly, the Court finds

    that the interests of justice would best be served by transferring this case to the United States

    District Court for the Western District of Arkansas.3

           The Clerk of the Court is directed to immediately transfer Plaintiff’s entire case file to the

United States District Court for the Western District of Arkansas.

           IT IS SO ORDERED this 7th day of November 2022.



                                                                   ________________________________
                                                                   LEE P. RUDOFSKY
                                                                   UNITED STATES DISTRICT JUDGE




1
    Compl. (Doc. 2).
2
    28 U.S.C. § 1391(b).
3
 Id. § 1406(a) (“The district court of a district in which is filed a case laying venue in the wrong division or district
shall dismiss, or if it be in the interest of justice, transfer such case to any district or division in which it could have
been brought.”)
